Case 2:05-cV-02287-dkv Document 11 Filed 08/25/05 Page 1 of 4 Page|D 14

F".ED B`z" f‘ \
IN THE UNITED STATES DISTRICT COURT "‘ " "" D'(-'-

FOR THE WESTERN DISTRICT 0F TENNESSEE 05 twin
WESTERN DIVISION J 25 AH !0-' l9

TH"'?».’::‘" ‘
cast iit-

   

 

ZIAD SAID OZRAIL,
Plaintiff,

v. Civil Action No. 05-2287-BV

Z BEST OIL CO. INC., HAITHAM A.

ALYOUSEF and NASSER OZRAIL,

d/b/a Z BEST MARKET,

Defendants.

\_/\_J\,/\./\-_/\_/‘~./\»/\_/\-/\_/\_/`-/

RULE 16(b) SCHEDULING ORDER

Pursuant to Written notice, a scheduling conference was held on August 25, 2005.
Present Were Frank P. Presta and Jarnes R. Newsom III, counsel for Plaintit`t`, and John
Hershberger, counsel for Defendants. At the conference, the following dates Were established as
the final dates for:

INITIAL DlSCLOSURES PURSUANT TO Fed.R.Civ.P. 26(a)(1): September 8, 2005

JOINING PARTIES: October 25, 2005

AMENDING PLEADINGS: October 25, 2005

INITIAL MOTIONS TO DISMISS: Novcmber 18, 2005

COMPLETING ALL DISCOVERY: June 5, 2006

(a) DOCUMENT PRODUCTION: January 27, 2006

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: April 7, 2006

Tnls document entered on the docket sheet in compliance ____/

./ l bo
with sale ss and/orYQ(a) FecP on 3 2 S 7/ 5 \

Case 2:05-cV-02287-dkv Document 11 Filed 08/25/05 Page 2 of 4 Page|D 15
(c) EXPERT WITNESS DISCLOSURE (Rule 26):

(l) DISCLOSURE OF PLAINTIFF’S RULE 26 EXPERT
INFORMATION: April 7, 2006

(2) DISCLOSURE OF DEFENDANTS’ RULE 26 EXPERT
INFORMATION: May 5, 2006

(3) EXPERT WITNESS DEPOSITIONS: June 5, 2006
FlLING DISPOSITIVE MOTIONS: July 7, 2006
OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur alter the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or the service of the response, answer, or objection, which is the
subject of the motion, if the default occurs within 30 days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the objection to the default,
response, answer, or objection shall be waived.

This case is Set for a jgy trial, and the trial is expected to last l day(s). The pretrial order
date, pretrial conference date, and trial date will be set by the presiding judge.

After the close of discovery, the parties will advise the Court if this case is appropriate for
ADR, and whether court-annexed attorney mediation or private mediation should be conducted

The parties are reminded that pursuant to Local Rule 1 l(a)(l)(A), all motions, except
motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. lf a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required.

The parties have consented to trial before the magistrate judge.

 

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this order will not be modified or
extended

Case 2:05-cV-02287-dkv Document 11 Filed 08/25/05 Page 3 of 4 Page|D 16

ML /YZ'@MF

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

DATE: Qa?¢uj ,£% p?am§

IT IS SO ORDERED.

 

HARRIS SHE oN HANOVER W sH, PLLC

By: M:P »-\__

James R. Newsom III (TDN 6683)
2700 ne Commerce Square

phis, Tennessee 38103
(901) 525-1455

 

NIXON & VANDERHYE P.C.

Frank P. Presta, Esq.

901 North Glebe Road, llth Floor
Arlington, Virginia 22203-1808
(703) 316-4041

Attorneys for Plaintiff

HERsHBERGi-;R | PRICE, PLLC

By¢ %%MW news WM'F“M/

John ershberger (TDN[ 02151§)
239 dams Avenue

Memphis, Tennessee 38103
(90]) 525-5292

Attorneys for Defendants

Q`\JRN\WPF\O):rail\Seheduling Order 031905.wpd

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 2:05-CV-02287 was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

J ames R. Newsom

HARRIS SHELTON HANOVER VllALSH7 PLLC.
One Commerce Square

Ste. 2700

l\/lemphis7 TN 38103--255

Frank P. Presta

NIXON & VANDERHYE, P.C.
1100 N. Glebe Road

8th Floor

Arlington, VA 22201

Honorable J. Breen
US DISTRICT COURT

